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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




 ROBERT F. KENNEDY HUMAN RIGHTS;
 SOUTHERN BORDER COMMUNITIES                       CASE NO. 1:25-cv-01270-ACR
 COALITION; URBAN JUSTICE CENTER,

 Plaintiffs,                                              DECLARATION OF TROUP
                                                               HEMENWAY
 v.


 U.S. DEPARTMENT OF HOMELAND
 SECURITY; KRISTI NOEM, in her official
 capacity as Secretary of Homeland Security,

 Defendants.


                         DECLARATION OF TROUP HEMENWAY

        I, Troup Hemenway, based upon my personal knowledge and information made known to

me in the course of my official employment hereby declare, to the best of my knowledge,

information, and belief, as follows relating to the above-captioned matter:

        1.     I am Principal Deputy Chief of Staff at the U.S. Department of Homeland Security

(DHS). I have also been appointed as the Acting Officer for Civil Rights and Civil Liberties at the

U.S. Department of Homeland Security (DHS).

        2.     On May 22, 2025, I and Ronald J. Sartini, the Citizenship and Immigration Services

(CIS) Ombudsman at DHS, met to discuss staffing plans for the Office of the CIS Ombudsman

(CISOMB), DHS Office for Civil Rights and Civil Liberties (CRCL), and DHS Office of the

Immigration Detention Ombudsman (OIDO).
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       3.      For CISOMB, Mr. Sartini’s plan involves a staff that includes himself, the Deputy

Ombudsman, an additional five to seven full-time employees to handle casework, and an additional

employee to handle report writing and any additional responsibilities. Because Mr. Sartini’s

Deputy recently accepted a position as the Deputy Chief of the Office of Policy and Strategy at

U.S. Citizenship and Immigration Services, he is actively working with CHCO on the job posting

for the Deputy’s replacement. Staffing for the additional positions will take time, so Mr. Sartini

has posted detail announcements in order to immediately bring on a minimum of two detailees,

preferably for rotations of six months to one year each. We also discussed studying the feasibility

of collateral duty assignment for USCIS employees to handle the work of Local Ombudsmen.

       4.      For CRCL, the plan involves a staff that includes myself, as the Acting CRCL

Officer, the Deputy CRCL Officer, an additional twenty full-time employees to handle casework,

and an additional employee to handle report writing and any additional responsibilities. The

Deputy CRCL Officer will be the lead for EEO matters. Because staffing will take time, the plan

is to immediately bring on as many detailees as possible, preferably for rotations of six months to

one year each. Because Mr. Sartini has recent experience in drafting and issuing detail notices, he

will assist me in expeditiously posting detail notices for CRCL.

       5.      Moreover, in the interim, CRCL has a number of active contracts. For example,

PCI Government Services provides support to intake, review, and process allegations, as well as

handle medical and mental health allegations in support of CRCL’’s work pursuant to the

Homeland Security Act, 6 U.S.C. § 345(a)(6), and meeting obligations under 42 U.S.C. § 2000ee-

1(f)(2)(C) and (D). The services aid in receipt and handling of allegations of medical or other

issues that arise during detention of aliens as part of DHS’s immigration enforcement and law

enforcement missions.
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        6.     Pursuant to a separate contract, sign language services are provided as an

accommodation to employees with disabilities as required by the Rehabilitation Act of 1973, Pub.

L. 93-112, 29 U.S.C. § 701, et seq. and the Americans with Disabilities Act Amendments Act of

2008 (effective January 1, 2009). In addition, this contract supports events with the Secretary and

Deputy Secretary where messages need to be communicated to the entire workforce including

those employees with disabilities requiring sign language and real-time captioning services.

        7.     EEO Case Management eNtellitrak (ETK) tracking system supports DHS and is

utilized throughout all Components of the Department to track and manage EEO complaints to

ensure compliance with multiple statutes, including Title VII of the Civil Rights Act of 1964, the

Rehabilitation Act of 1973, and the Age Discrimination Employment Act of 1967, as well as EEOC

implementing regulations governing the federal sector complaint process at 29 C.F.R. Part 1614,

and mandatory annual EEOC reporting requirements, including the Notification and Federal

Employee Anti-Discrimination and Retaliation Act of 2002 (No FEAR Act).

        8.     Bashen provides EEO counseling and investigation services to support employees

or applicants who file EEO complaints. Bashen helps resolve complaints informally, ensure

compliance with EEO regulations, and provide expert advice on discrimination laws and policies.

        9.     JDG Associates provides EEO counseling and investigation services to support

employees or applicants who file EEO complaints. JDG helps resolve complaints informally,

ensure compliance with EEO regulations, and provide expert advice on discrimination laws and

policies.

        10.    Alacor provides correctional nursing experts to assist CRCL with review of

allegations and conducting investigations pursuant to the Homeland Security Act, 6 U.S.C. §

345(a)(6), and meeting obligations under 42 U.S.C. § 2000ee-1(f)(2)(C) and (D) and Section 504
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of the Rehabilitation Act of 1973, as amended, 29 U.S.C. § 794. The services manage risk from

medical issues that arise during detention of aliens as part of DHS’s immigration enforcement and

law enforcement missions. This includes triaging and sending to ICE IHSC for action emergent

referrals that may be of a “life and death” nature, including potentially suicidal detainees or

detainees decompensating medically with potentially immediate negative outcomes.

       11.    Kleman Consulting provides correctional mental health experts to assist CRCL with

review of allegations and conducting investigations pursuant to the Homeland Security Act, 6

U.S.C. § 345(a)(6), and meeting obligations under 42 U.S.C. § 2000ee-1(f)(2)(C) and (D) and §

504 of the Rehabilitation Act of 1973, as amended, 29 U.S.C. § 794. The services are critical to

managing risk from medical issues that arise during detention of aliens as part of DHS’’s

immigration enforcement and law enforcement missions. This includes triaging and sending to

ICE IHSC for action emergent referrals that may be of a “life and death” nature, including

potentially suicidal detainees or detainees decompensating medically with potentially immediate

negative outcomes.

       12.    Finally, JDG Associates helps in drafting Final Agency Decision (FADs) on the

merits of EEO complaints alleging employment discrimination. JDG Associates supports the EEO

Division’s compliance with the timeframes set forth at 29 C.F.R. § 1614.110.

       13.    For OIDO, the proposed plan would involve a staff that includes the Ombudsman,

the Deputy Ombudsman, an additional five to seven full-time employees to handle casework, and

an additional employee to handle report writing and any additional responsibilities. On May 22,

2025, the Secretary designated Joseph Guy to serve as the OIDO Ombudsman. Staffing will take

time, so the plan is to immediately bring on a minimum of two detailees, preferably staying for
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rotations of six months to one year each. Because Mr. Sartini has recent experience in drafting

and issuing detail notices, he will assist Mr. Guy in expeditiously posting detail notices for OIDO.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge.



Executed this 22nd day of May, 2025.


                                                     /s/___________________
                                                     Troup Hemenway
                                                     Acting Officer for Civil Rights and Civil
                                                     Liberties
                                                     U.S. Department of Homeland Security
